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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                )
                                        )          CRIMINAL ACTION NO.
       v.                               )              2:17cr38-MHT
                                        )                  (WO)
REINIER PEREZ-RIVES                     )


                             OPINION AND ORDER

       This   case     is    currently       before       the   court   on    the

government’s           renewed        motion        for     a     psychiatric

examination       of        defendant        Reinier       Perez-Rives        for

purposes of sentencing.                For the reasons that follow,

the    motion    will       be     granted    to    the    extent     that    the

government will be given the opportunity to have Dr.

Kale        Kirkland        perform      a     local        evaluation         of

Perez-Rives.


                                 I. Background

       Perez-Rives          pled     guilty,       pursuant      to     a    plea

agreement, to one count of conspiracy to commit wire

fraud, see 18 U.S.C. § 1349, and one count of aiding
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and abetting aggravated identity theft, see 18 U.S.C.

§§ 1028A and 2.

      At his sentencing hearing, Perez-Rives moved for a

downward variance based in part on his contention that

his    mental-illness           and        substance-abuse       disorders

contributed to his offense conduct.                     In response, the

government moved for its own psychiatric evaluation, to

be conducted at a Bureau of Prisons (BOP) facility.

The court found that ordering such an evaluation was in

the interest of fairness, but that the government had

not    carried        its     burden       to    warrant   an    inpatient

evaluation       at     the     BOP.            See   United    States    v.

Perez-Rives, No. 2:17cr38-MHT, 2018 WL 1315450 (M.D.

Ala. Mar. 14, 2018) (Thompson, J.).                     Accordingly, the

court granted the motion, albeit only to the extent

that the government was given an opportunity to obtain

an expert of its choosing to conduct a mental-health

evaluation of Perez-Rives in the local community.                        The

court also gave the government permission to renew its

motion, with evidentiary support, if it either could


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not find adequate professional resources in the local

community to conduct the evaluation or otherwise had

compelling reasons to commit Perez-Rives to the BOP.


                               II. Analysis

       Under 18 U.S.C. § 3552(b), a sentencing court has

authority        to order a study of a convicted defendant

when    it     “desires       more   information         than      is    otherwise

available to it as a basis for determining the sentence

to be imposed.”           Studies ordered pursuant to § 3552(b)

“shall” be conducted in the local community, unless at

least one of two conditions are met: either “there is a

compelling       reason       for    the       study    to   be       done   by   the

Bureau of Prisons or there are no adequate professional

resources available in the local community to perform

the study.”       18 U.S.C. § 3552(b).

       After     the      court       granted          the     government          an

opportunity        to     obtain           a     local       evaluation,          the

government       filed    a     renewed        motion    for      a    psychiatric

evaluation.             See     Renewed         Motion       for       Psychiatric

Examination (doc. no. 128).                     Despite being ordered to

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provide “an evidentiary showing ... that there are no

adequate professional resources available to conduct a

mental-health evaluation in the local community or that

there   are   compelling     reasons    for    a    BOP   evaluation”,

Perez-Rives, 2018 WL 1315450 *4 (emphasis added), the

government renewed its motion with only arguments, not

evidence,     that   local    resources       are    unavailable     and

compelling    reasons      warrant    committing      Perez-Rives       to

the BOP.      The court nonetheless addresses each of the

government’s    arguments     below.        For     the   reasons    that

follow, the court does not find any of the asserted

reasons “compelling” for the purposes of § 3552(b) and

will not order Perez-Rives to be committed to the BOP.

Instead, the government is granted an opportunity to

receive a local evaluation by Dr. Kale Kirkland, who it

identified     in    its     motion    as     an     adequate       local

psychologist.




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                          a. Compelling Reasons

       The government first argued that the nature of a

BOP    evaluation        is    a     compelling      reason         to   send     the

Perez-Rives to the BOP.                 In particular, it argued that

a   longitudinal         evaluation          at   the     BOP      would    provide

extended      time      for    the     professionals          to    observe       him;

that    the      mental-health         personnel         at   the    BOP     have    a

history of expertise; and that the independent nature

of the BOP would make its evaluation more reliable than

one    by   an    expert       hired    by    either       side.         These    are

essentially the same reasons the court rejected in its

earlier order.           At that time, the court reasoned: “the

government        has    not    argued,       and    the      record       does   not

support, that a longitudinal evaluation, rather than a

locally       performed        assessment,          is    necessary         due     to

specific         aspects        of      Perez-Rives’s              condition        or

history.”         Id. at 3.           This remains true today.                    The

court further found these reasons to be “nothing more

than generalizations,” and that “[i]f a mere recitation

of these reasons was sufficient under § 3552(b), the


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court could send a defendant to the BOP at will, if not

at     whim.”       Id.     at   4.             These   reasons     remain

generalizations, which are not compelling reasons for

the court to send Perez-Rives to the BOP.

       The government’s second putative compelling reason

is that “Perez-Rives’ Due Process rights will not be

violated by transferring him to the Bureau of Prisons.”

Renewed Motion for Psychiatric Examination (doc. no.

128) at 5.       The court finds this reason perplexing: the

lack      of    a    constitutional            violation      is   not     an

affirmative, compelling reason to commit a defendant to

the BOP for an in-patient evaluation.

       Due process is likely implicated when a defendant

objects to being committed to a mental hospital.                         See

Vitek v. Jones, 445 U.S. 480 (1980).                    Thus, if a court

finds an acceptable reason to commit a defendant to the

BOP for purposes of a § 3552(b) study, it must still

determine       whether      doing        so     over   the    defendant’s

objection      would      violate    his       due-process    rights.      In

other words, the due-process consideration is relevant


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only after the court has found an acceptable § 3552(b)

reason for committal.             Hence, even if the government

could convince the court that Perez-Rives’s due-process

rights would not be violated by sending him to the BOP,

the government first needs to establish an independent

§ 3552(b) reason for the study, which, as shown above

and in the discussion that follows, the government has

not done.

      (In any event and for the reasons given above, the

‘generalizations’          offered       by      the    government     are

inadequate       to     override      Perez-Rives’s        due    process

objection to his commitment to a BOP facility.)

      The      government        also      argued       that,     because

Perez-Rives is already in federal custody and faces a

mandatory minimum sentence of two years incarceration,

he will not spend any additional time in custody, or

otherwise suffer a procedural detriment, as a result of

sending him to the BOP.             As support for this argument,

it     relied      on     United        States     v.    Piggott,      No.

2:14CR124-MHT, 2014 WL 6750513 (M.D. Ala. Dec. 2, 2014)


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(Thompson,       J.),   a     case   where      this     court       found      a

compelling reason to order a § 3552(b) study because

the    defendant     had     already     been     committed         to    a   BOP

facility pursuant to 18 U.S.C. § 4244 for an evaluation

of whether he should be finally committed to a suitable

facility for treatment in lieu of imprisonment.                                In

that    case,     efficiency--both         for     the        BOP    and      the

court--satisfied the compelling reason requirement.                            In

the instant case, committing Perez-Rives--who, unlike

Piggott, is currently housed in the local jail--to a

BOP    facility    is       inefficient:     it    will       substantially

delay    the    instant      proceedings.         Further,          the    court

finds no support for this reasoning in the statute,

which     requires      a     compelling        reason        to    send      the

defendant to the BOP without mention of his custodial

status.      This is another instance where, if the court

were to accept this reason, it would be able to send

defendants--or at least defendants in custody--to the

BOP    for     a § 3552(b)      study    whenever        it    so    desired,




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thereby       eviscerating        the    statute’s         compelling-reasons

requirement.

       The final reason offered by the government is that

“if the Bureau of Prisons conducts the evaluation, the

Court     will      not    have     to        pay   for        the     evaluation.”

Renewed Motion for Psychiatric Examination (doc. no.

128)     at    6.         Someone       still       has    to        pay    for     the

evaluation: the BOP as a part of its overall operating

costs or the court as part of its authorized budget or

the     Justice      Department          as     part      of     its       authorized

budget.             Even     if         costs       were         an        acceptable

consideration, the court has no dollar figures before

it and cannot say based on the current record how the

issue should be weighed.

       The court therefore finds none of the government’s

reasons compelling for the purposes of § 3552(b).



             b. Adequate and Available Local Resources

       The    government      also       argued        that      “there       are   no

adequate professional resources available in the local


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Community [sic] to conduct the evaluation.”                            Id. at 7.

If this were true, it would be sufficient to commit

Perez-Rives to the BOP, as § 3552(b) requires either

compelling reasons or lack of available and adequate

local resources.              However, the government provided no

evidence to support this assertion.                       Rather, as support

for this argument, it asserted that it had “reached out

to Dr. Catherine Boyer in Auburn, Alabama, and Dr. Kale

Kirkland,         in   Montgomery,        Alabama,       to     see    if   either

could     assist       the     government”        and,     at    the       time    of

filing,      it    had       “not   received      a     response      as    to    the

availability            of      either         doctor      to      conduct         an

evaluation.”           Id.

       Understanding the government’s position to be that

an evaluation by Dr. Kirkland, a psychologist, would be

adequate if available, the court contacted Dr. Kirkland

to     see    whether         he    was    available       to      perform        the

evaluation, and he agreed to evaluate Perez-Rives with

the help of an interpreter.

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    Thus,     finding     no    compelling       reason    to    commit

Perez-Rives to the BOP, but having found a suitable

local option, the court will provide the government an

opportunity to receive an evaluation locally, by Dr.

Kirkland.

                                * * *

    Accordingly, it is ORDERED as follows:

    (1) The       government’s         renewed     motion       for      a

psychiatric evaluation (doc. no. 128) is granted to the

extent it will be given the opportunity have a local

evaluation of defendant Perez-Rives done by Dr. Kale

Kirkland, a psychologist.

    (2) If the government so requests within seven days

from the date of this order, the court will enter the

following order:

       (a)     Dr.    Kale     Kirkland,      of   Central      Alabama

          Psychology, P.C., 2571 Bell Rd., Montgomery, AL

          36117, is appointed to perform a psychological

          evaluation      of   defendant      Reinier      Perez-Rives

          pursuant to 18 U.S.C. § 3552(b).                Dr. Kirkland


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        is to conduct the necessary battery of tests to

        provide      the       court      with         the     requisite

        information regarding his findings, opinions,

        and conclusions as to how the mental condition

        of   Perez-Rives       should     affect        the    sentence,

        including        but       not      limited            to     any

        recommendations         for      treatment           that   could

        address any identified mental-health conditions

        or issues.

     (b)     The      government          shall         arrange       for

        interpretive services to assist Dr. Kirkland in

        his evaluation of defendant Perez-Rives.

     (c)     If Dr. Kirkland judges               it    necessary for

        the examination and testing to occur at his

        office, the United States Marshal is to arrange

        for defendant Perez-Rives to be present for the

        tests and/or examination there.

     (d)     The government is to file any questions it

        would like Dr. Kirkland to ask or issues it

        would like Dr. Kirkland to address by [DATE].


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     (e)     Dr. Kirkland is to file his report with

        the court by no later than [DATE].               He is also

        to provide copies to counsel for Perez-Rives

        and the United States.

     (f)     The     Department      of    Justice      shall    have

        responsibility         for     the     costs      of     said

        examination.        See Guide to Judiciary Policy,

        Vol. 7, Pt. A § 320.20.20.

  DONE, this the 19th day of April, 2018.

                                  /s/ Myron H. Thompson
                               UNITED STATES DISTRICT JUDGE




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